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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)
| Original Plan
{m]| EIGHTEENTH Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
C] Modified Plan (Indicate Ist, 2nd, ete. Modified. if applicable)
DEBTOR: FRANCISCO PUJOL JOINT DEBTOR: GABY PUJOL CASE NO.: 17-10757-RAM
SS#: XXx-xx- 0849 SS#: xxx-xx-1733
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5). 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may

be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured claim, set out in Section II, which may result in a (Included [M] Not included
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory. nonpurchase-money security interest, set [] Included [M] Not included
out in Section HI

Nonstandard provisions, set out in Section VIII [m) Included [-] Not included

 

 

 

 

I. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $6,129.47 formonths | to_38
2. $41,872.30 formonths 39 to;
3. $3,888.88 formonths 40 to 83;
4. $197,073.15 for months 84 to
B. DEBTOR(S)' ATTORNEY'S FEE: []NONE  [] PROBONO
Total Fees: $15050.00 Total Paid: $3000.00 Balance Due: $12050.00
Payable $12,050.00 ‘month (Months 39 to )

Allowed fees under LR 2016-1(B)(2) are itemized below:
14525.00 (+) 525.00 (mod) = 15.050.00 (-) 3.000.00 = 12,050.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

HI. TREATMENT OF SECURED CLAIMS
A. SECURED CLAIMS: [|] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

1. Creditor: SN Servicing Corporation

Address: 323 Sth St Arrearage/ Payoff on Petition Date
Eureka, CA 95501

 

Property being surrendered $883.68 ‘month (Months 1 to 38 )

 

 

 

 

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Debtor(s): FRANCISCO PUJOL, GABY PUJOL Case number: 17-10757-RAM

 

 

Last 4 Digits of

 

Account No.: 8218
Other:
[mi] Real Property Check one below for Real Property:
[m[Principal Residence [m]Escrow is included in the regular payments
[Other Real Property [|The debtor(s) will pay [[]taxes [_Jinsurance directly
Address of Collateral:

19512 NW 79 Ct.
Hialeah, FL 33015

[_] Personal Property/Vehicle
Description of Collateral: Real estate taxes $235.00 Insurance $208.34 P&I $1796.33.
B. VALUATION OF COLLATERAL: [—] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: ["] NONE

 

 

 

 

1. Creditor; LUIS AND GLADYS Value of Collateral: $177,280.41 Payment
PEREZ a - ;
Amount of Creditor's Lien: Total paid in pian: $201,950.77

Address: ¢/0 Sergio Mendez
7400 SW 57 Ct

 

Ste 202 Interest Rate: 5.25% $2,287.43 /nonth(Months 1 to 38)
South Miami, FL 33143 Cheek one bel $27,683.41 /month(Months 39 to)
heck one below: rr —_
Last 4 Digits of Account No.: N/A $1 76 J 3
————-—~(] Escrow is included in the monthly __31,750.00 ‘month (Months _40 to 83 )
Real Property mortgage payment listed in this section $10,345.02 ‘month (Months 84 to __)

[]Principal Residence [m] The debtor(s) will pay

(m]Other Real Property {mjtaxes  [mJinsurance directly
Address of Collateral:

1305-1321 NW 79 St
Miami, FL 33147

 

 

2, Creditor, LUIS AND GLADYS Value of Collateral: $287,402.38 Payment
PEREZ a: 5
Amount of Creditor's Lien: $0.00 Total paid in plan: $327,397.02

Address: c/o Sergio Mendez
7400 SW 57 Ct

Ste202 Interest Rate: 5.25% $2,620.54 /month(Months 1 to 38 )
South Miami, FL 33143 Check hel $1,750.00 ‘month (Months 39 to 83 )
Ls eck one below: rrr _—
Last 4 Digits of Account No.: N/A PLZ SQ / J
" [] Escrow is included in the monthly $149,066.59 ‘month (Months _84 to __)}
Real Property mortgage payment listed in this section
["]Principal Residence [m] The debtor(s) will pay
(Other Real Property [mjtaxes  [mJinsurance directly
Address of Collateral:

1305-1321 NW 79 St
Miami, FL 33147

 

 

 

 

 

 

2. VEHICLES(S): [lf] NONE
3. PERSONAL PROPERTY: [lf] NONE
C. LIEN AVOIDANCE  ([m] NONE

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IV.

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Debtor(s): FRANCISCO PUJOL, GABY PUJOL Case number: 17-10757-RAM
D. SURRENDER Gr COLLATERAL: Secured claims fited by any creditor granted stay reiief in this section shaii not receive a
distribution fom the Chapter 13 Trustee.
[-] NONE
[mM] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's claim. The debtor(s)

request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

 

 

 

 

{-] Other:

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
Miami Dade Tax Collector 1370 19512 NW 79 Ct.

L. Hialeah, FL 33015
SN Servicing Corp. 8218 19512 NW 79 Ct.

2. Hialeah, FL 33015

, Bank of NY Mellon 9795 19512 NW 79 Ct.

So.

Hialeah, FL 33015
E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.
[-] NONE
[m] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon

confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
BMW OF NORTH 4695 2016 BMWQ X-5
1. AMERICA
BMW OF NORTH 6329 2015 BMW 428
2. AMERICA
WESTGATE VACATION = 2347 TIMESHARE

3. VILLAS, LLC

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 1] U.S.C. §507 and 11 U.S.C. § 1322(a\(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [mf] NONE
B. INTERNAL REVENUE SERVICE: [i] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [mi] NONE
D. OTHER: [m] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS

A. Pay $17,954.23 /month (Months 84 to )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [m) If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: — [mi] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

(m} NONE
INCOME TAX RETURNS AND REFUNDS: [im] NONE
NON-STANDARD PLAN PROVISIONS ["] NONE

[™] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

SECTION IH, MONTHLY PLAN PAYMENT: I. Begins February 23, 2017, 2. Begins April 23, 2020. 3. Begins May 23. 2020.

 

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Debtor(s): FRANCISCO PUJOL, GABY PUJOL
The Debtors!

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Case number: 17-10757-RAM

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from the pending lawsuit, which are not exempt, to the unsecured creditors.

Debtor to pay $3888.88 Beginning month 39 (4/23/20).

The MMM has been denied. This property shall be treated outside the plan after month 39.
[] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Francisco Pujol Debtor

 

 

April 13, 2020 Gaby Pujol Joint Debtor April 13, 2020
FRANCISCO PUJOL Date GABY PUJOL Date
‘s/ Michael A. Frank, Esquire April 13, 2020

Attorney with permission to sign on Date

Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and

order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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